Case 3:18-cv-03556-FLW-DEA Document 37 Filed 02/27/20 Page 1 of 1 PageID: 365




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                     :
SLEEP TIGHT DIAGNOSTIC CENTER,                       :
LLC,                                                 :
                                                     :
               Plaintiff,                            : Civil Action No.: 18-3556 (FLW)
       v.                                            :
                                                     : ORDER
AETNA INC., AETNA HEALTH INC., AND                   :
AETNA LIFE INSURANCE                                 :
COMPANY,                                             :
                                                     :
               Defendants.                           :
                                                     :

       THIS MATTER having been opened to the Court by Mark A. Nehme, Esq., counsel for

Sleep Tight Diagnostic Center, LLC (“Sleep Tight”), on a Motion for reconsideration of the

Court’s June 28, 2019 Opinion and Order; it appearing that Defendants Aetna, Inc., Aetna Health

Inc., and Aetna Life Insurance Company, through their counsel, Colin J. O’Boyle, Esq., oppose

the Motion; the Court having considered the submissions of the parties without oral argument,

pursuant to Fed. R. Civ. P. 78; for the reasons set forth in the Opinion filed on this date, and for

good cause shown,

       IT IS on this 27th day of February, 2020,

       ORDERED that Sleep Tight’s Motion for reconsideration is DENIED.


                                                                     /s/ Freda L. Wolfson
                                                                     Freda L. Wolfson
                                                                     U.S. Chief District Judge
